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                             CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2010, I caused a true and correct copy of the

foregoing, NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF’S CLAIMS

AGAINST CHIRON CORPORATION, to be served on all counsel of record via

electronic service by sending a copy to LexisNexis File & Serve for posting and

notification to all parties in this action pursuant to Case Management Order No. 2 entered

by the Honorable Patti B. Saris in MDL 1456.



                                                           /s/ D. Jacques Smith
                                                            D. Jacques Smith
